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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

                                               §
 UNITED STATES OF AMERICA,                     §
                                               §
        Plaintiff,                             §
                                               §
 v.                                            §     Case No. 3:21-cv-173-KC (Consolidated)
                                               §
 THE STATE OF TEXAS; GREG ABBOTT, in           §
 his official capacity as Governor of Texas,   §
                                               §
        Defendants.                            §
                                               §

 ANNUNCIATION HOUSE; ANGRY TIAS &              §
 ABUELAS OF THE RIO GRANDE VALLEY;             §
 JENNIFER HARBURY; FIEL HOUSTON,               §
                                               §
        Consolidated Plaintiffs,               §
                                               §
 v.                                            §
                                               §     Case No. 3:21-cv-00178-KC
 GREG ABBOTT, IN HIS OFFICIAL CAPACITY         §
 AS GOVERNOR OF TEXAS; STEVEN                  §
 MCCRAW, IN HIS OFFICIAL CAPACITY AS           §
 DIRECTOR OF THE STATE OF TEXAS                §
 DEPARTMENT OF PUBLIC SAFETY,                  §
                                               §
        Consolidated Defendants.               §


                       GOVERNOR GREG ABBOTT’S NOTICE OF APPEAL


TO THE HONORABLE KATHLEEN CARDONE, U.S. DISTRICT JUDGE:

       Notice is hereby given that Defendant Governor Greg Abbott hereby appeals to the United

States Court of Appeals for the Fifth Circuit from the trial court’s Order signed on February 17,

2022 granting in part and denying in part Defendant’s Motion to Dismiss (Dkt. # 83).
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Dated: March 18, 2022                     Respectfully submitted,

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Defendants Notice of Appeal                                                         2
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing document was filed

electronically via CM/ECF on March 18, 2022 causing electronic service on all counsel of record.

                                                   /s/ Amy S. Hilton
                                                   Amy S. Hilton
                                                   Assistant Attorney General




Defendants Notice of Appeal                                                                   3
